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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 JANE DOE,

                 Plaintiff,
                                                                   Case No. 23-cv-4837
         v.

 STEPHAN SHAW AND CITY OF                                          Jury Trial Demanded.
 CHICAGO,

                 Defendants.


                                        COMPLAINT AT LAW


    NOW COMES Plaintiff, JANE DOE1, and complaining of Defendants STEPHAN SHAW and

CITY OF CHICAGO, states as follows:


                                    JURISDICTION AND VENUE

    1. This action arises under the Constitution of the United States, particularly the Fourth and

Fourteenth Amendments to the Constitution of the United States, under the laws of the United

States, particularly the Civil Rights Act, Title 42 of the United States Code, §§ 1983 and 1988, and

under the laws of the State of Illinois.


1 “Jane Doe” is a pseudonym. Due to the nature of this case, and the conduct alleged, the plaintiff is seeking

to proceed with this matter anonymously. See Doe v. Blue Cross & Blue Shield United, 112 F.3d 869, 871
(7th Cir. 1997) (fictitious names are allowed when necessary to protect the privacy of children, rape victims,
and other particularly vulnerable parties or witnesses). Plaintiff will seek leave of the Court to proceed
anonymously.
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    2. The jurisdiction of this Court is invoked under the provisions of Title 28 of the United

States Code, §§ 1331 and 1343. Plaintiff also invokes the supplemental jurisdiction of this Court

pursuant to Title 28 of the United States Code, § 1367.

    3. This Court has jurisdiction over this action pursuant to Title 28 of the United States Code

§§ 1331 and 1367, as Plaintiff asserts claims under federal law and the state law claims arise out of

the same facts as the Federal claims. Venue is proper under Title 28 of the United States Code, §

1391(b)(2), as the events complained of occurred within this district.

                                             PARTIES

    4. At all times relevant herein, Plaintiff JANE DOE was a 22-year-old woman residing in

Chicago and Hammond, Indiana.

    5. Defendant CITY OF CHICAGO is a governmental entity operating within the State of

Illinois. The CITY OF CHICAGO is responsible for the actions of its employees while acting

within the scope of their employment. At all times relevant to this action, CITY OF CHICAGO

was the employer of Defendant STEPHAN SHAW.

    6. Defendant STEPHAN SHAW is sued in his individual capacity and was at all times

relevant, a sworn police officer employed by Defendant CITY OF CHICAGO, and was acting

within the scope of his agency, service and/or employment with the CITY OF CHICAGO, and

was acting under color of the statutes, ordinances, regulations, customs, and usages of the State of

Illinois.




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                                    FACTUAL ALLEGATIONS

   7. On May 22, 2023, Jane was arrested by Chicago police at Nordstrom’s in downtown

Chicago.

   8. Jane was transported by Chicago police to the 18th District police station at 1160 North

Larrabee Street, in Chicago.

   9. Jane was placed in a small room inside the main processing area at the 18th District.

   10. Jane was handcuffed to the wall.

   11. Jane spent approximately three hours handcuffed in the room.

   12. During her three hours in the processing room at the 18th District, Jane was subjected to a

barrage of sexually explicit comments and propositions by Defendant Shaw, one of her arresting

officers, who repeatedly asked Jane if she would have sex with him, if she would let him touch her

posterior, and if she wanted to touch his penis.

   13. Among other statements, Shaw told Jane, “You got a nice ass. When I came to Nordstrom,

I didn’t want to lock you up because you had such a nice ass.”

   14. On multiple occasions, Defendant Shaw touched Jane on the outside and inside of her

pants, while promising he would get her released as long as she “cooperated.”

   15. Defendant Shaw repeatedly put his hand down Jane’s pants, and rubbed and squeezed her

posterior and touched her vagina inside her pants.

   16. Defendant Shaw asked Jane, “You wanna touch my dick?” When Jane said no, he replied,

“Oh, so you just gonna wait ‘til we go out for pizza or something?”



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   17. Defendant Shaw stated that he felt bad he was able to touch Jane, but she hadn’t touched

anything of his. He told Jane, “I want you to feel something of mine too, you’re making me so

hard.”

   18. Soon afterwards, Defendant Shaw stated loudly that he was going to adjust Jane’s

handcuffs, then approached her and placed her cuffed hand on the outside of his pants on his penis.

   19. Shaw said, “Do you feel it? It’s hard. You’re gonna make me come.”

   20. Defendant Shaw told Jane he would “make sure you get out of here” if she “cooperated”

with him. He asked her, “Ain’t I being nice to you?”

   21. Defendant Shaw committed these acts in the middle of the 18th District’s general

processing area, where other officers were coming and going.

   22. Defendant Shaw knew he could commit these acts with impunity in the presence of other

officers because of the Chicago Police Department’s code of silence.

   23. Defendant Shaw “friended” Jane on Facebook with his phone while he stood in the

doorway of the room where she was being detained, handcuffed to the wall.

   24. As she was preparing to leave the station, Jane put her release paper, which provided

information about her bond and her court date, on the counter, while she bent down to look for

something in her bag. When she stood up, the paper was gone, and Defendant Shaw, who had been

standing next to her, was walking away.

   25. As a result, Jane did not know when or where her court date was.

   26. Jane messaged Defendant Shaw on Facebook to ask for the address of the police station,

because she intended to return to make a report about what had happened, and to ask about her
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court date. Defendant Shaw responded with the information, and told her about a recent call he

had been on, unrelated to her case. Defendant Shaw asked Jane if she was home and how she was

doing. Jane said she was okay, and thanked him. In response, Defendant Shaw stated, “You’re

welcome. We still gonna get some pizza tho.”

   27. The following day, Jane returned to the 18th District and reported the incident to a sergeant.

                                   COUNT I – FEDERAL CLAIM
                            42 U.S.C. § 1983 – FOURTH AMENDMENT
                            UNREASONABLE SEARCH AND SEIZURE
                                               SHAW

   28. Each paragraph in this Complaint is incorporated as if restated fully herein.

   29. As described in the preceding paragraphs, Defendant Shaw violated Plaintiff’s Fourth

Amendment right to be free from unreasonable search and seizure.

   30. The misconduct described in the preceding paragraphs was objectively unreasonable and

was undertaken intentionally with willful indifference to Plaintiff’s constitutional rights.

   31. Defendant Shaw, in committing the misconduct described in the preceding paragraphs,

was acting in the scope of his employment as an employee of Defendant CITY OF CHICAGO,

and under color of law.

   32. As a result of the unjustified and unreasonable conduct of Defendant Shaw, Plaintiff has

suffered severe injuries, including physical and emotional distress.




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                                    COUNT II – FEDERAL CLAIM
                          42 U.S.C. § 1983 – FOURTEENTH AMENDMENT
                                        EQUAL PROTECTION
                                               SHAW

    33. Each paragraph of this Complaint is incorporated as if fully stated herein.

    34. As described more fully above, Defendant Shaw denied Plaintiff equal protection of the law

in violation of her constitutional rights.

    35. The misconduct described in this count was motivated by gender animus and constituted

purposeful discrimination.

    36. The misconduct described in this Count was undertaken with malice, willfulness, and

reckless indifference to the rights of others.

    37. Defendant Shaw, in committing the misconduct described in the preceding paragraphs,

was acting in the scope of his employment as an employee of Defendant CITY OF CHICAGO,

and under color of law.

    38. As a result of the unjustified and unreasonable conduct of Defendant Shaw, Plaintiff has

suffered severe injuries, including physical and emotional distress.

                                 COUNT III – FEDERAL CLAIM
                      42 U.S.C. § 1983 – FOURTEENTH AMENDMENT
                                 SUBSTANTIVE DUE PROCESS
                                               SHAW
    39. Each paragraph of this Complaint is incorporated as if fully stated herein.

    40. Acting under color of law and within the scope of his employment as a Chicago police

officer, Defendant Shaw violated Jane’s substantive due process rights by unlawfully violating her




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bodily integrity, and violating her right to be free from sexually motivated physical assaults and

coerced sexual battery.

   41. As a result of the unjustified and unreasonable conduct of Defendant Shaw, Plaintiff has

suffered severe injuries, including physical and emotional distress.

                                  COUNT IV – FEDERAL CLAIM
                                               MONELL
                                DEFENDANTS CITY OF CHICAGO

   42. Each Paragraph of this Complaint is incorporated as if fully stated herein.

   43. Defendant City of Chicago has a longstanding and deeply entrenched code of silence, which

prevents officers not only from intervening to stop misconduct by other officers, but encourages

officers to ignore and cover up their fellow officers’ misconduct.

   44. In a speech at City Hall in 2015, Chicago Mayor Rahm Emmanuel acknowledged the

existence of a code of silence within the Chicago Police Department. “It is the tendency to ignore,

it is a tendency to deny, it is a tendency in some cases to cover up the bad actions of a colleague or

colleagues,” Mr. Emanuel said.

   45. The code of silence has not abated since 2015.

   46. Because of this of the code of silence, Defendant Shaw felt emboldened to assault Jane

while other officers roamed the processing area, knowing that no officer who observed his actions

would intervene or report the misconduct.

   47. The City of Chicago’s de facto pattern and practice of not reporting officer misconduct was

one of the causes of Shaw’s unlawful conduct and violation of Jane’s constitutional rights.



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                               COUNT V – STATE LAW CLAIM
                             ILLINOIS GENDER VIOLENCE ACT
                           DEFENDANTS SHAW, CITY OF CHICAGO

   48. Each Paragraph of this Complaint is incorporated as if fully stated herein.

   49. As described more fully above, the conduct of Defendant Shaw, and Defendant City of

Chicago by and through its agent, defendant Shaw, constituted a physical intrusion of a sexual

nature under coercive conditions. Defendant Shaw’s actions constituted unjustified and offensive

physical contact. Defendant Shaw’s conduct proximately caused Plaintiff’s injuries.

   50. The misconduct described in this Count was undertaken with malice, was willful and

wanton, was recklessly indifferent to the rights of others, and was objectively unreasonable.

   51. Defendant Shaw, in committing the misconduct described in the preceding paragraphs,

was acting in the scope of his employment as an employee of Defendant CITY OF CHICAGO,

and under color of law.

   52. As a result of the unjustified and unreasonable conduct of Defendant Shaw, Plaintiff has

suffered severe injuries, including physical and emotional distress.

                               COUNT VI – STATE LAW CLAIM
                                        BATTERY
                                 SHAW, CITY OF CHICAGO

   53. Each paragraph of this Complaint is incorporated as if restated fully herein.

   54. Defendant Shaw, and Defendant CITY OF CHICAGO, by and through its agent

Defendant Shaw, knowingly and without legal justification or permission, harmfully and/or

offensively touched Plaintiff, thereby constituting battery under Illinois law.



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   55. As a result of the unjustified and unreasonable conduct of Defendants, Plaintiff has suffered

severe injuries, including physical and emotional distress.

                        COUNT VII – STATE LAW CLAIM
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                    DEFENDANTS SHAW, CITY OF CHICAGO

   56. Each paragraph of this Complaint is incorporated as if restated fully herein.

   57. The conduct of Defendant Shaw, and Defendant CITY OF CHICAGO, by and through

its agent Defendant Shaw, was extreme and outrageous.

   58. Defendants intended to cause or recklessly or consciously disregarded the probability of

causing, severe emotional distress to Jane, and Jane suffered severe emotional distress as a

proximate result of Defendants’ actions.

   59. As a direct and proximate result of Defendants’ conduct, Jane suffered extreme and severe

emotional trauma, physical and mental pain and suffering, anxiety, and humiliation, and will

continue to suffer many of these conditions in the future.

                             COUNT VIII – STATE LAW CLAIM
                                 INDEMNIFICATION

   60. Each paragraph of this Complaint is incorporated as if restated fully herein.

   61. At all relevant times, CITY OF CHICAGO was the employer of Defendant SHAW.

   62. Defendant SHAW committed the acts alleged above under color of law and in the scope of

his employment as an employee of the CITY OF CHICAGO.

   63. Illinois law provides that governmental entities are directed to pay any tort judgment for

any damages for which employees are liable within the scope of their employment activities.

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   64. Should Defendant SHAW be found liable on one or more of the claims set forth above,

Plaintiff JANE DOE demands, pursuant to Illinois law, that his employer, Defendant CITY OF

CHICAGO, be found liable for any judgment plaintiff obtains against Defendant CITY OF

CHICAGO, as well as attorney’s fees and costs awarded, and for any additional relief this Court

deems just and proper.

   For the foregoing reasons, the Plaintiff, JANE DOE, prays for judgment against Defendants

STEPHAN SHAW and CITY OF CHICAGO, in a fair and reasonable amount, including

compensatory damages, punitive damages, reasonable attorney’s fees and costs, and for any

additional relief this Court deems just and proper.



                                            JURY DEMAND

   Plaintiff, JANE DOE, hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.

   Dated: July 25, 2023.

                                                      Respectfully submitted,

                                                      JANE DOE

                                               BY:    /s/ Jordan Marsh
                                                      Attorney for the Plaintiff

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